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                      UNITED STATES BANKRUPTCY COURT
                        SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

In re:                                  §
                                        §
GARDEN OAKS MAINTENANCE                 §        CASE NO.    18-60018-H2-11
ORGANIZATION, INC.,                     §
                                        §
         DEBTOR.                        §


 AMENDED PLAN OF REORGANIZATION OF THE OFFICIAL COMMITTEE OF
UNSECURED CREDITORS OF GARDEN OAKS MAINTENANCE ORGANIZATION
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       Pursuant to title 11 of the United States Code, 11 U.S.C. § 101 et seq., the Official Committee
of Unsecured Creditors of Garden Oaks Maintenance Organization (the “Committee”) in the above-
captioned Chapter 11 Case hereby respectfully proposes the following Amended Plan of
Reorganization1 under chapter 11 of the Bankruptcy Code.

                                               ARTICLE I
                               DEFINED TERMS AND RULES OF INTERPRETATION

              A.             Defined Terms.

   Unless the context otherwise requires, the following terms shall have the following meanings
when used in capitalized form herein:

        1.      “Accrued Professional Compensation” means, at any given moment, all accrued and/or
unpaid fees and expenses (including, without limitation, fees or expenses Allowed or awarded by a
Final Order of the Bankruptcy Court or any other court of competent jurisdiction) for legal,
financial advisory, accounting and other services and reimbursement of expenses that are awardable
and allowable under §§ 328, 330(a) or 331 of the Bankruptcy Code, arising under §§ 503(b)(2),
503(b)(3), 503(b)(4) or 503(b)(6) of the Bankruptcy Code or otherwise rendered prior to the
Effective Date, or thereafter in connection with: (i) applications filed pursuant to §§ 328, 330 and
331 of the Bankruptcy Code; (ii) motions seeking the enforcement of the provisions of the Plan or
Confirmation Order, by all Professionals in the Chapter 11 Cases that the Bankruptcy Court has not
denied by a Final Order, to the extent that any such fees and expenses have not previously been paid
regardless of whether a fee application has been filed for any such amount; and (iii) applications for
allowance of Administrative Expenses. To the extent that the Bankruptcy Court or any higher court
denies by a Final Order any amount of a Professional’s fees or expenses, then those amounts shall
no longer be Accrued Professional Compensation.

        2.      “Administrative Claims” means Claims that have been timely filed before the
Administrative Claims Bar Date, pursuant to the deadline and procedure set forth in the Plan or
Confirmation Order (except as otherwise provided by a separate order of the Bankruptcy Court), for
costs and expenses of administration under §§ 503(b) (including claims under §§ 503(b)(3)(F) and
503(b)(9)), 507(b) or 1114(e)(2) of the Bankruptcy Code), including, without limitation: (i) the actual
and necessary costs and expenses incurred after the Petition Date of preserving the Estate and
operating the businesses of GOMO (such as wages, salaries or commissions for services and
payments for goods and other services and leased premises) and (ii) all fees and charges assessed
against the Estate under chapter 123 of title 28 of the U.S. Code, 28 U.S.C. §§ 1911–1930); provided,
however, that such Administrative Claims shall not include claims for Accrued Professional
Compensation.

        3.       “Administrative Claims Bar Date” means the first Business Day that is thirty (30) days
after the entry of the Confirmation Order and is the deadline for a holder of an Administrative
Claim to file a request with the Bankruptcy Court for payment of such Administrative Claim.



                                                            
1             On January 8, 2019, the Committee filed the original Plan of Reorganization of the Official Committee of Unsecured
              Creditors of Garden Oaks Maintenance Organization [ECF 70].


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       4.     “Adversary Case” means the lawsuit filed by the Committee against GOMO seeking to
enjoin GOMO from collecting the Transfer Fee on the grounds that GOMO was not properly
formed with respect to the Transfer Fee and thus did not have the authority to collect the Transfer
Fee.

        5.       “Allowed” means, with respect to any Claim, except as otherwise provided herein: (i)
a Claim that has been scheduled by GOMO in its Schedule as other than disputed, contingent or
unliquidated; (ii) a Claim that has been allowed by a Final Order; (iii) a Claim that is allowed: (a) in
any stipulation of amount and nature of such Claim executed prior to the entry of the Confirmation
Order and approved by the Bankruptcy Court; (b) in any stipulation by GOMO of the amount and
nature of such Claim executed on or after the entry of the Confirmation Order; or (c) in or pursuant
to any contract, instrument or other agreement entered into or assumed in connection herewith; (iv)
a Claim that is allowed pursuant to the terms of this Plan; or (v) a Claim as to which a proof of claim
has been timely filed and as to which no objection has been filed by the objection deadline. Any
claim that has been or is hereafter listed in the Schedule as contingent, unliquidated, or disputed, and
for which no proof of claim is or has been timely filed, is not considered Allowed and shall be
expunged without further action by GOMO and without further notice to any party or action,
approval, or order of the Bankruptcy Court. Notwithstanding anything to the contrary herein, no
Claim of any Entity subject to § 502(d) of the Bankruptcy Code shall be deemed Allowed unless and
until such Entity pays in full the amount that it owes GOMO, as applicable. For the avoidance of
doubt, a proof of claim filed after the General Bar Date shall not be Allowed for any purposes
whatsoever absent entry of a Final Order allowing such late-filed Claim. “Allow” and “Allowing”
shall have correlative meanings.

        6.      “Available Cash” means, with respect to any point in time, GOMO’s Cash remaining
at such point in time.

       7.       “Avoidance Actions” include all avoidance actions under §§ 506(c), 510, 542, 543, 544,
545, 547, 548, 549, 550, 551, 552(b), 553 or 724 of the Bankruptcy Code.

        8.      “Bankruptcy Code” means §§ 101, et seq. of title 11 of the United States Code, and
applicable portions of titles 18 and 28 of the United States Code, as amended from time to time and
as applicable to the Chapter 11 Cases.

        9.      “Bankruptcy Court” means the United States Bankruptcy Court for the Southern
District of Texas, Houston Division.

       10.    “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, promulgated
under 28 U.S.C. § 2075, the Local Rules of Bankruptcy Practice and Procedure of the United States
Bankruptcy Court for the Southern District of Texas, and general orders and chamber procedures of
the Bankruptcy Court, each as applicable to the Chapter 11 Cases and as amended from time to
time.

        11.     “Business Day” means any day, other than a Saturday, Sunday or “legal holiday” as
that term is defined in Federal Rules of Bankruptcy Procedure 9006(a).

       12.     “Current Bylaws” means the current bylaws of GOMO.




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        13.    “Cash” means legal tender of the United States of America or the equivalent thereof,
including bank deposits, checks and readily marketable securities or instruments.

         14.     “Causes of Action” means any and all claims, actions, causes of action, choses in
action, suits, debts, dues, sums of money, accounts, reckonings, bonds, bills, specialties, covenants,
contracts, controversies, agreements, promises, variances, trespasses, damages, judgments, remedies,
rights of set-off, third-party claims, subrogation claims, contribution claims, reimbursement claims,
indemnity claims, defenses, counterclaims and cross claims, now owned or hereafter acquired by
GOMO or the Estate that are or may be pending or on or have accrued prior to the Effective Date
against any person or entity other than the GOMO based in law or equity, including, without
limitation, under the Bankruptcy Code, whether direct, indirect, derivative or otherwise and whether
asserted or unasserted as of the Confirmation Date; provided, however, that “Causes of Action” shall
exclude any Causes of Action released in the Plan.

        15.     “Chapter 11 Case” means the chapter 11 case commenced when GOMO filed a
voluntary petition for relief under chapter 11 of the Bankruptcy Code on the Petition Date and
assigned Case No. 18-60018.

       16.     “Claim” has the meaning set forth in § 101(5) of the Bankruptcy Code.

        17.      “Class” means a category of Claims or Member Interests as set forth herein pursuant
to § 1122(a) of the Bankruptcy Code.

       18.    “Confirmation Date” means the date on which the Bankruptcy Court enters the
Confirmation Order on the docket in this Chapter 11 Case.

       19.    “Confirmation Hearing” means the hearing to consider confirmation of the Plan in
accordance with §§ 1128(a) and 1129 of the Bankruptcy Code, as such hearing may be adjourned or
continued from time to time.

       20.     “Confirmation Order” means the order of the Bankruptcy Court confirming the Plan
pursuant § 1129 of the Bankruptcy Code, including all exhibits, appendices, supplements and related
documents. The Confirmation Order may contain terms that supersede the terms in this Plan.

       21.     “Consummation” means the occurrence of the Effective Date.

       22.     “Creditor” has the meaning set forth in § 101(10) of the Bankruptcy Code.

       23.    The “Committee” means the official committee of unsecured creditors appointed in
the Chapter 11 Case by the U.S. Trustee for the Southern District of Texas, pursuant to § 1102 of
the Bankruptcy Code, as such committee may be reconstituted from time to time.

       24.     “Court” means either the Bankruptcy Court or court of competent jurisdiction.

        25.    “GOMO” means Garden Oaks Maintenance Organization. For avoidance of doubt,
unless context demands otherwise, the term “GOMO” includes the Garden Oaks HOA.

        26.    “Garden Oaks HOA” means Garden Oaks Homeowners Association which, as of the
Effective Date, shall be the successor-in-interest to GOMO pursuant to the provisions of this Plan.



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For avoidance of doubt, unless context demands otherwise, the term Garden Oaks HOA includes
GOMO.

        27.     “Deed Restrictions” means the restrictions applying to each of the Sections of Garden
Oaks filed in the real property records of Harris County, Texas.

        28.      “Disclosure Statement” means the Amended Disclosure Statement in support of Plan of
Reorganization, dated March 11, 2019, prepared and distributed in accordance with the Bankruptcy
Code, Bankruptcy Rules and any other applicable law, and approved by the Bankruptcy Court in the
Disclosure Statement Order, as it is amended, supplemented or modified from time to time in
compliance with the Disclosure Statement Order, including all exhibits and schedules thereto and
references therein that relate to the Plan, that is prepared and distributed in accordance with the
Bankruptcy Code, the Bankruptcy Rules, and any other applicable law.

       29.     “Disclosure Statement Order” means the order approving the Disclosure Statement
entered by the Bankruptcy Court on _____________ ____, 2019 [ECF ____]. The Disclosure
Statement Order may contain terms that supersede the terms in this Plan.

        30.     “Disputed” means any Claim or any portion thereof: (i) that is listed on GOMO’s
Schedules as unliquidated, disputed or contingent; (ii) as to which GOMO, the Committee, or any
other party-in-interest with standing has interposed a timely objection or request for estimation in
accordance with the Bankruptcy Code and the Bankruptcy Rules; or (iii) otherwise disputed by
GOMO or the Committee in accordance with applicable law, which objection, request for
estimation or dispute has not been withdrawn or determined by a Final Order.

        31.    “Disputed Reserve” means the total of the amounts that would be distributable to
holders of Disputed Claims if such Disputed Claims had been Allowed.

       32.    “Distributions” means the distributions of Cash or other consideration on account of
Allowed Claims to be made under and in accordance with the Plan.

        33.     “Effective Date” means the date specified in a notice filed by the Committee with the
Bankruptcy Court as the date on which the Plan shall take effect, which date shall be the date by
which all of the conditions to effectiveness of the Plan have been satisfied or waived in accordance
with the Plan.

       34.     “Entity” has the meaning set forth in § 101(15) of the Bankruptcy Code.

      35.    “Estate” means the estate of GOMO created on the Petition Date by § 541 of the
Bankruptcy Code.

        36.    “Executory Contracts and Unexpired Leases” means all contracts and leases between
GOMO and any third-parties that are “executory contracts” or “unexpired leases” as such terms are
used in § 365 of the Bankruptcy Code.

       37.     “Final Decree” means the decree contemplated under Bankruptcy Rule 3022.

      38.  “Final Distribution” means the final distribution of Available Cash by the Garden
Oaks HOA to General Unsecured Creditors which shall occur after payment of all Allowed



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Administrative Claims, Priority Claims, Secured Claims, and Professional Fee Claims and shall
constitute the complete administration of the Estate.

        39.     “Final Order” means an order, determination or judgment of the Bankruptcy Court
(or other court of competent jurisdiction) entered on the docket in GOMO’s Chapter 11 Case (or
on the docket of such other court of competent jurisdiction) which has not been reversed, stayed,
modified or amended, and as to which the time to appeal, petition for certiorari or move for re-
argument or rehearing or reconsideration has expired and no appeal or petition for certiorari or
appropriate motion has been timely taken, or as to which any appeal that has been taken or any
petition for certiorari that has been or may be filed has been resolved by the highest court to which
the order, determination or judgment was appealed or from which certiorari was sought or has
otherwise been dismissed with prejudice and as to which the time for any subsequent appeal,
petition for certiorari or move for re-argument or rehearing or reconsideration has expired and no
such subsequent appeal or petition for certiorari or appropriate motion has been timely taken, or has
been resolved by the court to which the order, determination or judgment was so subsequently
appealed.

        40.    “Garden Oaks” means the Garden Oaks subdivision.

      41.     “General Bar Date” means August 27, 2018 as established in the Notice of Chapter 11
Bankruptcy Case [ECF 11].

        42.    “General Unsecured Claims” means all unsecured Claims asserted against GOMO.

        43.     “Impaired” means, with respect to a Claim or Class of Claims, has the meaning
assigned in § 1124 of the Bankruptcy Code.

        44.    “Secured Claims” means all secured Claims asserted against GOMO.

        45.     “Person” means any individual, corporation, limited liability company, general
partnership, limited partnership, limited liability partnership, association, joint stock company, joint
venture, estate, trust, unincorporated organization, government or any political subdivision thereof
or any other entity as such term is defined in § 101(15) of the Bankruptcy Code.

        46.    “Petition Date” means April 11, 2018, the date on which GOMO filed the Chapter 11
Case.

         47.     “Plan” means this plan of reorganization under chapter 11 of the Bankruptcy Code,
including, without limitation, all applicable exhibits, supplements, appendices and schedules hereto,
either in its present form or as it may be altered, amended, modified or supplemented from time to
time in accordance with the Bankruptcy Code, the Bankruptcy Rules or herewith, as the case may
be.

        48.   “Plan Election” means the election of new directors of Garden Oak HOA
(reorganized GOMO) that will occur within 90 days of the Effective Date.

        49.    “Plan Supplement” means, collectively, any supplement(s) to the Plan.

        50.   “Priority Claims” means Claims accorded priority in right of payment under § 507(a)
of the Bankruptcy Code.


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       51.     “Pro Rata” means the proportion that an Allowed Claim in a particular Class bears to
the aggregate amount of Allowed Claims in that respective Class, or the proportion that Allowed
Claims in a particular Class bears to the aggregate amount of Allowed Claims in a particular Class
and other Classes entitled to share in the same recovery as such Allowed Claim under the Plan.

       52.     “Proposed Amendments to the Bylaws” means the proposed amendments to the Current
Bylaws attached as Exhibit A.

      53.      “Proposed Amendments to the Deed Restrictions” means the proposed amendments to the
Deed Restrictions attached to this Plan as Exhibit B.

       54.     “Professional” means any person or Entity employed pursuant to a Final Order in
accordance with §§ 327, 328 or 1103 of the Bankruptcy Code, and to be compensated for services
rendered and awarded reimbursement of expenses incurred prior to and including the Effective
Date pursuant to §§ 327, 328, 329, 330 or 331 of the Bankruptcy Code.

        55.    “Professional Fee Claim” means any Claim made in this case for compensation for
services rendered or reimbursement of expenses pursuant to §§ 327, 328, 329, 330 or 331 of the
Bankruptcy Code.

        56.     “Professional Fee Claim Bar Date” means the date that is forty-five (45) days after the
Effective Date.

        57.    “Professional Fee Reserve” means a reserve funded on the Effective Date from
GOMO’s Available Cash, which shall initially be funded in an amount equal to the estimated
Accrued Professional Compensation through the Effective Date provided by each Professional
before the Effective Date. The Professional Fee Reserve shall not be encumbered.

        58.     “Releasees” means the Committee, and the respective Professionals of GOMO and
the Committee in this Chapter 11 Case; provided, however, that each such Person or Entity shall only
be released as specifically set forth in the Plan.

        59.     “Representatives” means, with regard to an Entity, its direct and indirect shareholders,
managers, officers, directors, employees, advisors, members, attorneys, professionals, accountants,
investment bankers, financial advisors, consultants, agents and other representatives (including their
respective officers, directors, employees, independent contractors, members and professionals) and
each of their predecessors, successors and assigns.

       60.     “Section” means any of Sections 1, 2, 3, 4 or 5 of Garden Oaks.

       61.     “Schedule” means the schedule of assets and liabilities, schedule of executory
contracts and statement of financial affairs filed by GOMO pursuant to § 521 of the Bankruptcy
Code.

       62.      “Transfer Fee” means the one-time assessment charged by GOMO when a parcel of
property in Garden Oaks Sections 1, 2, 3 and 5 is transferred from one owner to another owner in
the amount of 0.75% of the greater of (i) the gross purchase price of property or (ii) the appraisal of
the property reflected in the records of the Harris County Appraisal District.




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       63.     “U.S. Trustee” means the United States Trustee appointed under § 591 of title 28 of
the United States Code to serve in the Southern District of Texas.

       64.     “Unsecured Claim” means a Claim against GOMO whose repayment is not supported
by any property of the Estate under § 541 of the Bankruptcy Code.

        65.     “Unimpaired” means, with respect to a Claim or Class of Claims, not Impaired.

        B.      Rules of Interpretation.

         1.     For purposes herein: (i) in the appropriate context, each term, whether stated in the
singular or the plural, shall include both the singular and the plural, and pronouns stated in the
masculine, feminine or neutral gender shall include the masculine, feminine and the neutral gender;
(ii) any reference herein to a contract, instrument, release, indenture or other agreement or
document being in a particular form or on particular terms and conditions means that the referenced
document shall be substantially in that form or substantially on those terms and conditions; (iii) any
reference herein to an existing document or exhibit having been filed or to be filed means that
document or exhibit, as it may thereafter be amended, modified or supplemented; (iv) unless
otherwise specified, all references herein to “Articles” are references to Articles hereof or hereto; (v)
the words ‘‘herein,’’ “hereof” and ‘‘hereto’’ refer to the Plan in its entirety rather than to a particular
portion of the Plan; (vi) captions and headings to Articles are inserted for convenience of reference
only and are not intended to be a part of or to affect the interpretation hereof; (vii) the rules of
construction set forth in § 102 of the Bankruptcy Code shall apply; and (viii) any term used in
capitalized form herein that is not otherwise defined, but that is used in the Bankruptcy Code or the
Bankruptcy Rules shall have the meaning assigned to that term in the Bankruptcy Code or the
Bankruptcy Rules, as the case may be.

       2.      The provisions of Bankruptcy Rule 9006(a) shall apply in computing any period of
time prescribed or allowed hereby.

      3.       All references herein to monetary figures shall refer to currency of the United States
of America, unless otherwise expressly provided.

        C.      Exhibits and Schedules.
         All exhibits and schedules to the Plan, including the Plan Supplement, are incorporated into,
and are a part of the Plan, as if set forth herein. All exhibits and schedules to the Plan, including the
Plan Supplement, shall be filed with the Clerk of the Bankruptcy Court not later than the earlier of
(i) ten (10) days prior to the commencement of the Confirmation Hearing and (ii) five (5) days prior
to the deadline for filing objections to confirmation of the Plan.
                                     ARTICLE II
                         ADMINISTRATIVE AND PRIORITY CLAIMS

        A.      Administrative Claims.
       Garden Oaks HOA shall pay each holder of an Allowed Administrative Claim the full
unpaid amount of such Allowed Administrative Claim, in Cash, (a) on the later of: (i) five (5)
Business Days after the Effective Date (or, if not then due, within five (5) Business Days after the
date when such Allowed Administrative Claim is due in the ordinary course of business); (ii) if such


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Claim is Disputed and is Allowed after the Effective Date, on the date that is five (5) Business Days
after such Claim is Allowed by a Final Order; and (iii) at such later date and upon such terms as may
be agreed upon by a holder of an Allowed Administrative Claim and GOMO, or (b) at such time
and upon such terms as set forth in an order of the Bankruptcy Court; provided, however, that
Administrative Claims do not include Administrative Claims filed after the Administrative Claims
Bar Date.
       Upon the Effective Date of the Plan, any Person that paid a Transfer Fee during GOMO’s
bankruptcy case will be entitled to receive the full amount returned as an Allowed Administrative
Claim.
       B.      Professional Compensation and Reimbursement Claims and the
               Professional Fee Reserve.
         All Professionals employed by GOMO or the Committee in the Chapter 11 Case shall
(i) provide to GOMO and the Committee, before the Effective Date, an estimate of their Accrued
Professional Compensation through the Effective Date, and (ii) file all requests for allowance of
compensation and reimbursement of expenses pursuant to §§ 328, 330 or 503(b) of the Bankruptcy
Code for services performed and expenses incurred in the Chapter 11 Case through the Effective
Date by no later than the Professional Fee Claim Bar Date.
       On the Effective Date, Garden Oaks HOA shall establish and fund the Professional Fee
Reserve in accordance with the estimates provided by the Professionals. In the event of excess
amounts remaining in the Professional Fee Reserve after all Allowed Claims of Professionals have
been paid in full, such excess amounts shall be considered Available Cash.
       C.      Priority Claims.
          Garden Oaks HOA shall pay each holder of an Allowed Priority Claim the full unpaid
amount of such Allowed Priority Claim in Cash, on the later of: (i) five (5) Business Days after the
Effective Date; (ii) five (5) Business Days after the date such Priority Claim becomes Allowed; and
(iii) the date such Allowed Priority Claim is payable under applicable non-bankruptcy law.
       D.      General.
       Allowed Administrative Claims and Allowed Priority Claims shall be paid in full. Allowed
Claims for Accrued Professional Compensation shall be paid in full, immediately upon allowance
from Available Cash.
                           ARTICLE III
  CLASSIFICATION AND TREATMENT OF CLAIMS AND MEMBER INTERESTS

       A.      Summary.

         1.    In accordance with § 1123(a)(1) of the Bankruptcy Code, the Committee has not
classified Administrative Claims or Priority Claims.

        2.     The following table classifies Claims against GOMO for all purposes, including
voting, confirmation and distribution pursuant hereto and pursuant to §§ 1122 and 1123(a)(1) of the
Bankruptcy Code. The Plan deems a Claim to be classified in a particular Class only to the extent
that the Claim qualifies within the description of that Class and shall be deemed classified in a


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different Class to the extent that such Claim or any portion thereof qualifies within the description
of such different Class. A Claim is in a particular Class only to the extent that any such Claim is
Allowed in that Class and has not been paid or otherwise settled prior to the Effective Date. Each
Class set forth below is treated hereunder as a distinct Class for voting and distribution purposes.

          B.    Classification of Claims against GOMO.

          1.    Secured Claims

          2.    General Unsecured Claims

          C.    Treatment of Claims against GOMO.

                1.       Secured Claim Class.

          (a)   Classification: The Secured Claim Class consists of all Secured Claims.

       (b)     Allowance: The determination of any Allowed Secured Claims shall be determined by
order of the Bankruptcy Court.

        (c)      Treatment: Except to the extent that a holder of an Allowed Secured Claim agrees to
a different treatment, holders of Allowed Secured Claims, in full and final satisfaction, compromise,
settlement, release, and discharge of and in exchange for each Allowed Secured Claim, each holder
of an Allowed Secured Claim shall receive payment of its Allowed Secured Claim from Available
Cash upon the Effective Date.

       (d)    Voting: The Secured Claim Class is unimpaired and, therefore, each holder of an
Allowed Secured Claim will not be entitled to vote to accept or reject the Plan.

       (e)    Amount of Claim: The Committee does not believe that any creditors hold valid
Secured Claims. The only purported secured claim is in the amount of $2,643.75.

                2.       General Unsecured Class.

          (a)   Classification:   The General Unsecured Class consists of all General Unsecured
Claims.

        (b)   Allowance: General Unsecured Claims shall be deemed allowed for voting purposes
by an order of the Bankruptcy Court temporarily allowing the claim for voting purposes or as
follows:

                       (i)     If GOMO listed a General Unsecured Class Claim on its Schedule in
an undisputed capacity, the holder of the Claim does not file a Proof of Claim and no party files an
objection to the Claim or a motion to seek allowance or disallowance of the claim for voting
purposes, the Claim will be Allowed in the amount indicated on the Schedule.

                       (ii)   Whether or not GOMO listed a General Unsecured Class Claim on
its Schedule, if the holder of the Claim files a Proof of Claim and there is no claim objection



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pending, the Claim will be Allowed for voting purposes in the amount indicated on the Proof of
Claim.

                        (iii)  If there is an unresolved claim objection pending on the Voting
Deadline, then such claim will be allowed for voting purposes only to the extent that any portion of
the claim would remain if the claim objection is sustained in full unless the holder of the claim seeks
temporary allowance of such claim by the date of hearing on confirmation in which case the claim
will be allowed for voting purposes as provided by order of the Bankruptcy Court.

         (c)     Treatment: Except to the extent that a holder of an Allowed General Unsecured Class
Claim agrees to a different treatment, each holder of an Allowed General Unsecured Class Claim
shall receive, in full and final satisfaction, compromise, settlement, release, and discharge of and in
exchange for each Allowed General Unsecured Class Claim, its pro rata share of Available Cash, that
is, cash available after paying all other claims. To the extent an objection is pending against a holder
of a General Unsecured Class Claim on the Effective Date, no Distributions shall be made until the
entire Claim has been Allowed.

       (d)   Voting: General Unsecured Class is Impaired and, therefore, each holder of an
Allowed General Unsecured Class Claim is entitled to vote to accept or reject the Plan.

       (e)    Amount of Claims: GOMO’s claim registry reflects approximately $1.5 million in
General Unsecured Claims.

       D.      Reservation of Rights.
        Nothing under the Plan shall affect GOMO’s rights with respect to any Unimpaired Claim,
including, without limitation, all rights in respect of legal and equitable defenses to or setoffs or
recoupments against any such Unimpaired Claim.

       E.      Nonconsensual Confirmation.
         The Committee reserves the right to seek confirmation of the Plan under § 1129(b) of the
Bankruptcy Code. To the extent that any Class votes to reject the Plan, the Committee reserves the
rights to modify the Plan.
                                     ARTICLE IV
                         MEANS FOR IMPLEMENTING THE PLAN

       A.      Available Cash.

        Garden Oaks HOA shall pay all Allowed Administrative Claims, Priority Claims, Secured
Claims, and Professional Fee Claims in full from Available Cash. All remaining Available Cash shall
be paid to GOMO’s General Unsecured Creditors as described herein.

       B.      Proposed Amendments to Deed Restrictions.

         Attached as Exhibit B are the Proposed Amendments to the Deed Restrictions. Votes on
the Proposed Amendments will be solicited in conjunction with votes on the Plan. Votes will be
solicited pursuant to Texas Property Code § 209.0041(h-2), which provides that approval of the


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Proposed Amendments to the Deed Restrictions requires the affirmative vote of owners owning
67% of the lots of each Section of Garden Oaks for such Section of Garden Oaks to adopt the
Proposed Amendments to the Deed Restrictions. The approval of multiple owners of a lot may be
reflected by the signature of any one owner of such lot.

       C.      Proposed Amendments to Bylaws.

        Attached as Exhibit A is the Proposed Amendment to the Bylaws. Pursuant to the Texas
Business Organizations Code, the adoption of the Bylaws is the function of the installed Board.
Promptly following the confirmation of the Plan, the Board shall adopt the Proposed Amendment
to the Bylaws.

       D.      Approval by Sections.

        If some, but not all, Sections receive sufficient consents to adopt the Proposed Amendments
to the Deed Restrictions, then after the Effective Date, Garden Oaks HOA shall be in force only
with respect to those Sections that adopt the Proposed Amendments to the Deed Restrictions.

        If no Section votes in favor of the Proposed Amendments to the Deed Restrictions, then
after the Effective Date, Garden Oaks HOA shall be funded exclusively through voluntary
donations and it may enforce deed restrictions as permitted under applicable non-bankruptcy law.

        For any Section that does not receive sufficient consents to adopt to the Proposed
Amendments to the Deed Restrictions, Garden Oaks HOA shall consent to entry of a declaratory
judgment in the Adversary Case prohibiting Garden Oaks HOA or GOMO from collecting the
Transfer Fee for such section. Such declaratory judgment may be recorded in the real property
records.

       E.      Election of New Board of Directors.

       The Plan Election will be conducted according to procedures set forth herein.

        In connection with the Plan Election, the homeowners will be entitled to elect three (3)
Directors to represent their respective Sections. One director for each Section will serve a term of
the remaining year from the Effective Date until the first annual meeting following the Effective
Date. One Director for each Section will serve a term of approximately two (2) years – from the
Effective Date until the second annual meeting following the Effective Date. One Director for
each Section will serve a term of approximately three (3) years – from the Effective Date until the
third annual meeting following the Effective Date.

        In connection with the Plan Election, the candidate from each Section receiving the highest
number of votes will serve the three-year term, the candidate from each Section receiving the next
highest number of votes will serve the two-year term, and the candidate from each Section receiving
the next highest numbers of votes will serve the one-year term.

          In an election where two (2) or more candidates receive the same number of votes resulting
in a tie, the winner of the election will be chosen by lot.


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       F.          Use of Third-Party Management Company

        The new Board of Directors is authorized to contract with a management company that will
be responsible for day-to-day oversight of Deed Restriction enforcement issues. The Committee
believes that having Garden Oaks HOA hire a management company is the most cost-effective
method for objectively and efficiently enforcing Deed Restrictions.

       G.          Operations of GOMO Between the Confirmation Date and the Effective Date.

       GOMO shall continue to operate as debtor-in-possession during the period from the
Confirmation Date through the Effective Date.

       H.          Terms of Injunctions or Stays.

       Unless otherwise provided, all injunctions or stays provided for in the Chapter 11 Case
pursuant to §§ 105 or 362 of the Bankruptcy Code, or otherwise, and in existence on the
Confirmation Date, shall remain in full force and effect until the Chapter 11 Case is closed.

       I.          Conditions to Effectiveness

       The Plan will become effective upon the occurrence of each of the following:

            (i)    the Confirmation Order becomes a Final Order and no stay of the Confirmation
                   Order is in effect, unless the Committee elects, in its sole discretion, to consummate
                   the Plan on an earlier date if an appeal is timely filed;

            (ii)   payment of any and all Allowed Secured Claims; and

         (iii)     payment of any and all Allowed Priority Claims.

       J.          GOMO’s and Creditors’ Committee Professionals.

        Upon the Effective Date, the Professionals employed by GOMO and the Committee shall
be released and discharged from all further authority, duties, responsibilities and obligations relating
to and arising from the Chapter 11 Case; provided, however, that such Professionals shall be deemed
retained after such date solely with respect to: (i) applications filed pursuant to §§ 330 and 331 of
the Bankruptcy Code; (ii) motions seeking enforcement of the provisions of the Plan or the
Confirmation Order; (iii) review and, if appropriate, objections to any request for compensation or
expense reimbursement filed by a Professional; (iv) defend against appeals of the Confirmation
Order, if any; and (v) in the case of the Committee Professionals, the Post Effective Date Actions
(defined below). Garden Oaks HOA shall pay the fees, costs and expenses of such Professionals
incurred after the Effective Date from Available Cash, if such fees, costs and expenses are approved
by the Bankruptcy Court.




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       K.      Post-Effective Date Actions.

        Following the Effective Date, that the Committee shall continue to exist and have authority
to act in this Chapter 11 Case, and its Professionals shall be deemed retained, after such date with
respect to (collectively, the “Post-Effective Date Actions”): (i) seek reimbursement of expenses sought
by a member of the Committee; (ii) pursue and resolve objections to Claims, and (ii) any other
action that the Committee and the Professionals are permitted to take after the Effective Date by
the terms of this Plan or by a Final Order of the Bankruptcy Court. Upon substantial completion of
the Post-Effective Date Actions, as determined by the Committee in its reasonable business
judgement, the Committee shall file a notice (the “Completion Notice”) on the docket in the
Bankruptcy Case. Upon the filing of the Completion Notice, the Committee shall dissolve, and its
members and Professionals shall be released and discharged from all further authority, duties,
responsibilities and obligations relating to and arising from the Chapter 11 Case.

        Garden Oaks HOA shall pay the fees, costs and expenses of such Professionals incurred
after the Effective Date, if the Bankruptcy Court approves such fees, costs and expenses.

        Promptly following the Completion Notice, Garden Oaks HOA shall make the Final
Distribution.

                                    ARTICLE V
                       PROVISIONS GOVERNING DISTRIBUTIONS

       A.      Distributions to Holders of Unsecured Claims.

        After the Effective Date, Garden Oaks HOA may make interim distributions of Available
Cash to claimholders in the General Unsecured Class on a pro rata basis; provided that, Garden
Oaks HOA reserves sufficient Available Cash for the Disputed Reserve; and provided further that,
Garden Oaks HOA must make an appropriate reserve for administrative claims arising under the
Plan after the Effective Date.

       B.      Delivery of Distributions.

               1.      General Provisions; Undeliverable Distributions

          Subject to Bankruptcy Rule 9010 and except as otherwise provided herein, Distributions to
the holders of Allowed Claims shall be made at (i) the address of each holder as set forth in the
Schedule, unless superseded by the address set forth on proofs of Claim filed by such holder or
(ii) the last known address of such holder if no proof of Claim is filed or if Garden Oaks HOA has
been notified in writing of a change of address. If any Distribution is returned as undeliverable,
Garden Oaks HOA may, in its discretion, make such efforts to determine the current address of the
holder of the Claim with respect to which the Distribution was made, but no Distribution to any
holder shall be made unless and until the then-current address of the holder has been determined, at
which time the Distribution to such holder shall be made to the holder without interest from and
after the Effective Date through the date of Distribution. Amounts in respect of any undeliverable
Distributions shall be returned to, and held in trust by, Garden Oaks HOA until the Distributions




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are claimed or are deemed to be unclaimed property under § 347(b) of the Bankruptcy Code as set
forth in the Plan.

               2.      Unclaimed Property.

        Except with respect to property not distributed because it is being held in the Disputed
Reserve, Distributions that are not claimed by the expiration of one year from the Effective Date
shall be deemed to be unclaimed property under § 347(b) of the Bankruptcy Code, and the Claims
with respect to which those Distributions are made shall be automatically cancelled. After the
expiration of that one-year period, the right of any Person to those Distributions shall be discharged
and forever barred.

       C.      Manner of Cash Payments Under the Plan.

       Cash payments made pursuant to the Plan shall be in United States dollars by checks drawn
on a domestic bank selected by Garden Oaks HOA.

       D.      Time Bar to Cash Payments by Check.

        Checks issued on account of Allowed Claims shall be null and void if not negotiated within
ninety (90) days after the date of issuance thereof. Requests for the reissuance of any check that
becomes null and void pursuant to the Plan shall be made directly to Garden Oaks HOA by the
holder of the Allowed Claim to whom the check was originally issued. Any Claim in respect of such
voided check shall be made in writing on or before the later of the first anniversary of the Effective
Date or the first anniversary of the date on which the Claim at issue became an Allowed Claim.
After that date, all Claims in respect of void checks shall be discharged and forever barred and the
proceeds of those checks shall become unclaimed property in accordance with § 347(b) of the
Bankruptcy Code.

       E.      Compliance with Tax Requirements.

        In connection with making Distributions under the Plan, to the extent applicable, Garden
Oaks HOA shall comply with all tax withholding and reporting requirements imposed on it by any
governmental unit, and all Distributions pursuant to the Plan shall be subject to such withholding
and reporting requirements. Garden Oaks HOA may withhold the entire Distribution due to any
holder of an Allowed Claim until such time as such holder provides the necessary information to
comply with any withholding requirements of any governmental unit. Any property so withheld will
then be paid by Garden Oaks HOA to the appropriate authority. If the holder of an Allowed Claim
fails to provide the information necessary to comply with any withholding requirements of any
governmental unit within six months from the date of first notification to the holder of the need for
such information or for the Cash necessary to comply with any applicable withholding requirements,
then such holder’s Distribution shall be treated as an undeliverable Distribution in accordance with
the Plan.




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       F.      No Payments of Fractional Dollars and Minimum Distributions.

        Notwithstanding any other provision of the Plan to the contrary, no payment of fractional
dollars shall be made pursuant to the Plan. Whenever any payment of a fraction of a dollar under the
Plan would otherwise be required, the actual Distribution made shall reflect a rounding down of
such fraction to the nearest whole dollar. Garden Oaks HOA shall not be obligated to make any
Distribution of less than $5.00.

       G.      Interest on Claims.

         Except as specifically provided for in the Plan or the Confirmation Order, interest shall not
accrue on Claims and no holder of a Claim shall be entitled to interest accruing on or after the
Petition Date on any Claim. Interest shall not accrue or be paid on any Claim, or portion thereof,
that is a Disputed Claim in respect of the period from the Effective Date to the date such Disputed
Claim, or portion thereof, becomes an Allowed Claim and Distributions are made on account
thereof. Except as expressly provided in the Plan or in a Final Order of the Bankruptcy Court, no
prepetition Claim shall be Allowed to the extent that it is for post-petition interest or other similar
charges.

       H.      No Distribution in Excess of Allowed Amount of Claim.

       Notwithstanding anything to the contrary contained in the Plan, no holder of an Allowed
Claim shall receive in respect of that Claim any Distribution in excess of the Allowed amount of that
Claim.

       I.      Setoff and Recoupment.

        GOMO may, but shall not be required to, setoff against, or recoup from, any Claim and the
Distributions to be made pursuant to the Plan in respect thereof, any claims or defenses of any
nature whatsoever that GOMO may have against the holder of such Claim, but neither the failure to
do so nor the allowance of any Claim under the Plan shall constitute a waiver or release by GOMO
of any right of setoff or recoupment that any of them may have against the holder of any Claim.

       J.      Establishment of the Administrative Claims Bar Date.

       The Confirmation Order will establish a deadline by which creditors must file applications
for Administrative Claims. That date is known as the Administrative Claims Bar Date.

         On or before the Administrative Claims Bar Date, each holder of an Administrative Claim
shall file with the Bankruptcy Court a request for payment of its Administrative Claim. The request
for payment of an Administrative Claim will be timely filed only if it is actually received by the
Bankruptcy Court by the Administrative Claims Bar Date.

        Professionals shall not be required to file a request for fees and expenses arising under
§§ 328, 330, 331 or 503(b)(2)–(5) of the Bankruptcy Code on or before the Administrative Claims
Bar Date, as they will instead file final fee applications by the Professional Fee Claim Bar Date.




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                                         ARTICLE VI
                                      DISPUTED CLAIMS

       A.      No Distribution Pending Allowance.

       Notwithstanding any other provision of the Plan, Garden Oaks HOA shall not distribute
any Cash or other property on account of any Claim that is Disputed unless and until such Claim or
portion thereof becomes Allowed.

       To the extent that a Disputed Claim ultimately becomes an Allowed Claim, Distributions (if
any) shall be made to the holder of such Allowed Claim in accordance with the provisions of the
Plan. Upon allowance, a holder of the Allowed Disputed Claim shall receive any Distributions that
would have been made up to the date of allowance to such holder under the Plan had the Disputed
Claim been Allowed on the Effective Date.

       B.      Resolution of Disputed Claims; Claim Objection Deadline.

        Following the Effective Date, the Committee shall have the exclusive right to make and file
objections to any Claims. No other party, including Garden Oaks HOA, shall have the right to
object to Claims after the Effective Date.

        All objections to Disputed Claims will be filed and served upon the holders of each such
Claim not later than one hundred eighty (180) days after the Effective Date; provided that this time
period may be extended for additional periods of sixty (60) day if the Committee files a notice of
extension on the docket prior to the expiration of the last period. Furthermore, the Committee may
continue to prosecute any claim objection filed during such period until the claim objection is
resolved.

       C.      Estimation of Claims.

        At any time, the Committee may ask the Bankruptcy Court to estimate any contingent or
unliquidated Claim to the extent permitted by § 502(c) of the Bankruptcy Code, regardless whether
any party previously objected to such Claim or whether the Bankruptcy Court ruled on any such
objection.

         The Bankruptcy Court shall have jurisdiction to estimate any Claim at any time during
litigation concerning any objection to such Claim, including during the pendency of any appeal
relating to any such objection. If the Bankruptcy Court estimates any contingent or unliquidated
Claim, that estimated amount shall constitute either the Allowed amount of such Claim or a
maximum limitation on the Claim, as determined by the Bankruptcy Court. If the estimated amount
constitutes a maximum limitation on the Claim, the Committee may elect to pursue supplemental
proceedings to object to the ultimate allowance of the Claim.

       All of the aforementioned Claims objection, estimation and resolution procedures are
cumulative and not exclusive of one another. Claims may be estimated and subsequently
compromised, settled, withdrawn or resolved by any mechanism approved by the Bankruptcy Court.




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                           ARTICLE VII
      TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

       A.      Assumption and Rejection of Executory Contracts and Unexpired
               Leases.

        This Plan constitutes a motion to reject all Executory Contracts and Unexpired Leases. The
entry of the Confirmation Order by the Bankruptcy Court will constitute approval of all such
rejections and assumptions and assignments pursuant to §§ 365(a) and 1123 of the Bankruptcy
Code.

       B.      Claims Based on Rejection of Executory Contracts and Unexpired
               Leases.

         Claims resulting from the rejection of Executory Contracts and Unexpired Leases or the
expiration or termination of any Executory Contract or Unexpired Lease after the entry of the
Confirmation Order, but prior to the Effective Date, must be filed with the Bankruptcy Court and
served on Garden Oaks HOA no later than thirty (30) days after the Effective Date. Any Claims
arising from the rejection of an Executory Contract or Unexpired Lease for which proofs of Claim
are not timely filed within that time period will be forever barred from asserting against GOMO,
Garden Oaks HOA, their assets or properties unless otherwise ordered by the Bankruptcy Court.
All such Claims shall, as of the Effective Date, be subject to the permanent injunction set forth in
the Plan. Unless otherwise ordered by the Bankruptcy Court or provided in the Plan, all such
Claims that are timely filed as provided in the Plan shall be treated as a General Unsecured Class
Claim.

                           ARTICLE VIII
   INDEMNIFICATION, RELEASE, INJUNCTIVE AND RELATED PROVISIONS

       A.      Compromise and Settlement.

        Pursuant to § 363 of the Bankruptcy Code and Bankruptcy Rule 9019 and in consideration
for the Distributions and other benefits provided pursuant to the Plan, the Plan constitutes a good-
faith compromise of all Claims against GOMO. The entry of the Confirmation Order shall
constitute the Bankruptcy Court’s approval of the compromise or settlement of all Claims, as well as
a finding by the Bankruptcy Court that such compromise or settlement is fair, equitable, reasonable
and in the best interests of GOMO and holders of Claims.

       B.      Releases.

        (a)     Releases by GOMO. Notwithstanding anything in this Plan to the contrary, as of the
Effective Date, for the good and valuable consideration provided by each of the Releasees,
including, without limitation, the services of the Releasees in facilitating the expeditious
implementation of the Plan, GOMO hereby provides a full release to the Releasees (and each such
Releasee so released shall be deemed released and discharged by GOMO) from any and all Causes
of Action and any other debts, obligations, rights, suits, damages, actions, remedies and liabilities


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whatsoever, whether liquidated or unliquidated, fixed or contingent, matured or unmatured, known
or unknown, foreseen or unforeseen, existing as of the Effective Date or thereafter arising, in law, at
equity, whether for tort, contract, violations of federal or state securities laws, or otherwise, based in
whole or in part upon any act or omission, transaction, event or other occurrence or circumstances,
including actions in connection with indebtedness for money borrowed by GOMO, existing or
taking place prior to or on the Effective Date arising from or related in any way to GOMO,
including, without limitation, those that GOMO would have been legally entitled to assert or that
any holder of a Claim or other Entity would have been legally entitled to assert for or on behalf of
GOMO and further including those in any way related to GOMO’s bankruptcy estate, the Chapter
11 Cases or the Plan; provided, however, that the foregoing provisions in the Plan shall not operate to
waive or release the Releasees from any obligation under this Plan or the Confirmation Order, as
applicable.

        (b)     Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval of
the releases set forth in this Article VIII of the Plan pursuant to Bankruptcy Rule 9019 and its
finding that they are: (a) in exchange for good and valuable consideration, representing a good faith
settlement and compromise of the Claims and Causes of Action thereby released; (b) in the best
interests of GOMO and all holders of Claims; (c) fair, equitable and reasonable; (d) approved after
due notice and opportunity for hearing; and (e) a bar to any of the Releasees asserting any Claim or
Cause of Action thereby released.

        C.      Exculpation.

        Notwithstanding anything contained in the Plan to the contrary, the Releasees shall neither
have nor incur any liability to any Entity for any Claims or Causes of Action arising on or after the
Petition Date, including any act taken or omitted to be taken in connection with, or related to,
formulating, negotiating, preparing, disseminating, implementing, administering, confirming or
consummating the Plan, the Disclosure Statement, or any other contract, instrument, or other
agreement or document created or entered into in connection with the Plan or Disclosure Statement
or any other postpetition act taken or omitted to be taken in connection with or in contemplation of
the Plan; provided, however, that the provisions of this paragraph shall have no effect on the liability of
any Entity that results from any such act or omission that is determined in a Final Order to have
constituted gross negligence or willful misconduct; provided, further, that each Releasee shall be
entitled to rely upon the advice of counsel concerning its duties.

        D.      Dismissal of Adversary Proceeding.

         The Committee shall dismiss the Adversary Case after entry of the required declaratory
judgment under Article IV.D. of the Plan and, if no such declaratory judgment is required, within
five (5) days of the Effective Date.

        E.      Injunction.

       1.    Except as otherwise expressly provided for in this Plan or in obligations
issued pursuant to the Plan, from and after the Effective Date, all Entities are permanently
enjoined from commencing or continuing in any manner against GOMO or Garden Oaks
HOA and their assets and properties, as the case may be, any suit, action or other


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proceeding on account of or respecting any Claim, demand, liability, obligation, debt, right,
Cause of Action, interest or remedy released or to be released pursuant to the Plan or the
Confirmation Order.

       (a)    Except as otherwise expressly provided for in this Plan or in obligations
issued pursuant to the Plan, from and after the Effective Date, all Entities shall be precluded
from asserting against GOMO, Garden Oaks HOA, the Committee, their successors and
assigns and their assets and properties, any other Claims based upon any documents,
instruments, or any act or omission, transaction or other activity of any kind or nature that
occurred prior to the Effective Date.

         (b)  The rights afforded in this Plan and the treatment of all Claims in this Plan
shall be in exchange for and in complete satisfaction of Claims of any nature whatsoever,
against GOMO, Garden Oaks HOA, or any of their assets or properties. On the Effective
Date, all such Claims against GOMO or Garden Oaks HOA shall be satisfied and released
in full.

       (c)     Except as otherwise expressly provided for in this Plan or in obligations
issued pursuant to this Plan, all Parties and Entities are permanently enjoined, on and after
the Effective Date, on account of any Claim satisfied and released hereby, from:

            i.   commencing or continuing in any manner any action or other
                 proceeding of any kind against GOMO, Garden Oaks HOA, their
                 successors and assigns, or their assets and properties;

         ii.     enforcing, attaching, collecting or recovering by any manner or means
                 any judgment, award, decree or order against GOMO, Garden Oaks
                 HOA, their successors and assigns, or their assets and properties;

        iii.     creating, perfecting or enforcing any encumbrance of any kind against
                 GOMO, Garden Oaks HOA, their successors and assigns, or their
                 assets and properties;

        iv.      asserting any right of setoff, subrogation or recoupment of any kind
                 against any obligation due from GOMO or against GOMO’s property,
                 except to the extent a right to setoff, recoupment or subrogation is
                 asserted with respect to a timely filed proof of claim; or

         v.      commencing or continuing in any manner any action or other
                 proceeding of any kind in respect of any Claim or Cause of Action
                 released or settled hereunder.

       F.        Discharge.
       Upon confirmation of this Plan, GOMO is discharged from pre-confirmation debts
pursuant to § 1141(d) of the Bankruptcy Code.




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                                      ARTICLE IX
                               RETENTION OF JURISDICTION

        Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective
Date, the Bankruptcy Court shall, after the Effective Date, retain such jurisdiction over the Chapter
11 Case and with respect to all matters related to the Chapter 11 Case, GOMO, its Estate, all
property of the Estate and the Plan as is legally permissible, including, without limitation, jurisdiction
to:

         1.     allow, disallow, determine, liquidate, classify, estimate or establish the priority or
secured or unsecured status of any Claim, including the resolution of any request for payment of any
Administrative Claim and the resolution of any and all objections to the allowance, secured status or
priority of Claims;

       2.      grant, deny or otherwise resolve any and all applications of Professionals for
allowance of compensation or reimbursement of expenses authorized pursuant to the Bankruptcy
Code or the Plan, for periods ending on or before the Effective Date;

       3.       resolve any matters related to the assumption, assignment or rejection of any
executory contract or unexpired lease to which GOMO was party or with respect to which GOMO
may be liable and to hear, determine and, if necessary, liquidate, any Claims arising therefrom;

      4.      ensure that Distributions to holders of Allowed Claims and Member Interests are
accomplished pursuant to the provisions of the Plan;

        5.     decide or resolve any motions, adversary proceedings, contested or litigated matters
and any other matters and grant or deny any applications involving GOMO that may be pending on
the Effective Date or instituted by the Committee after the Effective Date;

       6.      enter such orders as may be necessary or appropriate to implement or consummate
the provisions of the Plan and all other contracts, instruments, releases, indentures and other
agreements or documents adopted in connection with the Plan or the Disclosure Statement;

       7.      resolve any cases, controversies, suits or disputes that may arise in connection with
the Effective Date, interpretation or enforcement of the Plan or any Entity’s obligations incurred in
connection with the Plan;

        8.     issue injunctions, enforce them, enter and implement other orders or take such other
actions as may be necessary or appropriate to restrain interference by any Entity with the Effective
Date or enforcement of the Plan, except as otherwise provided in the Plan;

        9.      enforce the various provisions of this Plan;

        10.     enforce the Injunction set forth in this Plan;




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        11.     resolve any cases, controversies, suits or disputes with respect to the releases,
injunction and other provisions contained in this Plan, and enter such orders as may be necessary or
appropriate to implement or enforce all such releases, injunctions and other provisions;

       12.     enter and implement such orders as necessary or appropriate if the Confirmation
Order is modified, stayed, reversed, revoked or vacated;

        13.    resolve any other matters that may arise in connection with or relate to the Plan, the
Disclosure Statement, the Confirmation Order or any contract, instrument, release, indenture or
other agreement or document adopted in connection with the Plan or the Disclosure Statement; and

       14.     enter an order and/or the decree contemplated in Bankruptcy Rule 3022 concluding
the Chapter 11 Cases.

                                       ARTICLE X
                               MISCELLANEOUS PROVISIONS

       A.      Final Fee Applications.

       The deadline for submission by Professionals of final applications for Bankruptcy Court
approval of Accrued Professional Compensation shall be the Professional Fee Claim Bar Date.

       B.      Payment of Statutory Fees.

         All fees payable pursuant to § 1930 of title 28 of the United States Code shall be paid on the
earlier of when due or the Effective Date, or as soon thereafter as practicable. From and after the
Effective Date, Garden Oaks HOA shall be liable for and shall pay the fees under 28 U.S.C. § 1930
assessed against GOMO under 28 U.S.C. § 1930 until entry of a Final Decree closing the case. In
addition, Garden Oaks HOA shall file post-confirmation quarterly reports or any pre-confirmation
monthly operating reports not filed as of the Confirmation Hearing in conformity with the U.S.
Trustee guidelines, until entry of an order closing or converting the case. The U.S. Trustee shall not
be required to file a request for payment of its quarterly fees, which shall be deemed an
Administrative Claim against GOMO.

       C.      Modification of the Plan.

        Subject to the limitations contained in the Plan, the Committee reserves the right, in
accordance with the Bankruptcy Code and the Bankruptcy Rules to (i) amend or modify the Plan,
prior to the entry of the Confirmation Order, including amendments or modifications to satisfy
§ 1129(b) of the Bankruptcy Code; and (ii) after the entry of the Confirmation Order, upon order of
the Bankruptcy Court, amend or modify the Plan, in accordance with § 1127(b) of the Bankruptcy
Code, or remedy any defect or omission or reconcile any inconsistency in the Plan in such manner
as may be necessary to carry out the purpose and intent of the Plan.




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       D.      Revocation of Plan.

         The Committee reserves the right to revoke or withdraw the Plan prior to the entry of the
Confirmation Order, and to file subsequent chapter 11 plans. If the Committee revokes or
withdraws the Plan or if entry of the Confirmation Order or the Effective Date does not occur,
then: (i) the Plan shall be null and void in all respects; (ii) any settlement or compromise embodied
in the Plan, assumption or rejection of executory contracts or leases affected by the Plan, and any
document or agreement executed pursuant hereto shall be deemed null and void; and (iii) nothing
contained in the Plan shall: (a) constitute a waiver or release of any Claims or Member Interests; (b)
prejudice in any manner the rights of GOMO, the Committee, or any other Entity; or (c) constitute
an admission of any sort by GOMO, the Committee, or any other Entity.

       E.      Successors and Assigns.

       The rights, benefits and obligations of any Entity named or referred to herein and the Plan
Supplement shall be binding on, and shall inure to the benefit of, any heir, executor, administrator,
successor or assign of such Entity.

       F.      Governing Law and Construction.

        Except to the extent that the Bankruptcy Code or Bankruptcy Rules apply, and subject to
the provisions of any contract, instrument, release, indenture or other agreement or document
entered into in connection herewith, the rights and obligations arising hereunder shall be governed
by, and construed and enforced in accordance with, the laws of the state of Texas, without giving
effect to the principles of conflict of laws thereof. Any inconsistency between the Plan and the
Confirmation Order shall be construed in favor of and so as to give effect to the Confirmation
Order. All exhibits and schedules to the Plan and the Plan Supplement shall be incorporated in the
Plan by this reference, as though set forth at length herein.

       G.      Reservation of Rights.

        Except as expressly set forth herein, the Plan shall have no force or effect unless and until
the Bankruptcy Court enters the Confirmation Order. Neither the filing of the Plan, any statement
or provision contained herein, nor the taking of any action by GOMO, the Committee, or any
Entity with respect to the Plan shall be or shall be deemed to be an admission or waiver of any
rights of: (i) GOMO or the Committee with respect to the holders of Claims or Member Interests or
other parties in interest; or (ii) any holder of a Claim or Member Interest or other party-in-interest
prior to the Effective Date.

       H.      Section 1146 Exemption.

       Pursuant to § 1146(a) of the Bankruptcy Code, any transfers of property pursuant to the
Plan shall not be subject to any stamp tax or other similar tax or governmental assessment in the
United States, and the Confirmation Order shall direct the appropriate state or local governmental



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officials or agents to forego the collection of any such tax or governmental assessment and to accept
for filing and recordation instruments or other documents pursuant to such transfers of property
without the payment of any such tax or governmental assessment.

       I.      Section 1125(e) Good Faith Compliance.

         GOMO, the Committee and each of their respective Representatives shall be deemed to
have acted in “good faith” under§ 1125(e) of the Bankruptcy Code, and the Confirmation Order
shall including a finding of fact to that effect.

       J.      Further Assurances.

        GOMO, the Committee, all holders of Claims receiving Distributions hereunder and all
other parties in interest shall, from time to time, prepare, execute and deliver any agreements or
documents and take any other actions as may be necessary or advisable to effectuate the provisions
and intent of the Plan or the Confirmation Order.

       K.      Filing of Additional Documents.

       On or before the Effective Date, the Committee may file with the Bankruptcy Court all
agreements and other documents that may be necessary or appropriate to effectuate and further
evidence the terms and conditions hereof.

       L.      No Stay of Confirmation Order.

        The Confirmation Order shall contain a waiver of any stay of enforcement otherwise
applicable, including pursuant to Bankruptcy Rules 3020(e) and 7062.

       M.      Bankruptcy Code Section 1141 Discharge.

   GOMO shall receive a discharge under § 1141 of the Bankruptcy Code.


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Dated: March 11, 2019
                                   THE OFFICIAL COMMITTEE OF UNSECURED
                                   CREDITORS OF GARDEN OAKS MAINTENANCE
                                   ORGANIZATION, INC.

                                   /s/Gary C. Ingram
                                   Gary C. Ingram
                                   Committee Co-Chair



                                   DIAMOND McCARTHY LLP

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                                   Counsel to the Official Committee of Unsecured Creditors of
                                   Garden Oaks Maintenance Organization, Inc.




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                         Exhibit A to Plan

                 Proposed Amendment to the Bylaws
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                                                               [PROPOSED]
 
                      AMENDMENT TO BYLAWS OF
        GARDEN OAKS HOMEOWNERS ASSOCIATION (F/K/A GARDEN OAKS
                   MAINTENANCE ORGANIZATION, INC.)

      The Bylaws of Garden Oaks Homeowners Association (F/K/A Garden Oaks
Maintenance Organization, Inc.) (the “Bylaws”) are hereby amended as follows:

      1.      Garden Oaks Maintenance Organization, Inc. is renamed to Garden Oaks
Homeowners Association (the “Association”). All references to “Garden Oaks Maintenance
Organization, Inc.” are changed to “Garden Oaks Homeowners Association” All references to
“Organization” are changed to “Association.”

              Section 2.01 is replaced in it entirety with the following:

              2.01 Membership. There will be one (1) class of Members. All record owners (an
              “Owner” or “Owners”) of any separately-owned parcel (a “Parcel”, as defined below)
              within each participating section of Garden Oaks, Sections [1, 2, 3, and 5]2 (collectively,
              each participating section being herein referred to as the “Subdivision” and individually,
              each participating section being herein referred to as a “Section”) in Harris County,
              Texas, shall be members (“Members”) of the Association. The Board, in its reasonable
              discretion, and if the Restrictions applicable to Garden Oaks, [Section 4] are amended to
              read in a manner acceptable to the Board, may add Garden Oaks, [Section 4] to be
              within the jurisdiction of the Association and in such instance, “Subdivision” shall also
              include Garden Oaks, [Section 4], and Garden Oaks, [Section 4] will be also be defined
              as a “Section”. The Association is the governing entity pursuant to the Declaration
              and/or Restrictions applicable to each Section.

              1.             Section 3.06 is replaced in its entirety with the following:

              a.     Quorum. Except as otherwise provided in these Bylaws, the presence, in
              person or by proxy, absentee ballot, or electronic ballot, of Members
              representing at least ten percent (10%) of the total votes allocated to Owners in
              the Subdivision shall constitute a quorum for the conduct of business at a
              meeting. If a quorum is not present at any meeting of Members, Members
              representing a majority of the Parcels present at the meeting may adjourn and
              reconvene the meeting at a later time or date. The Board may establish rules to
              implement proxy voting, absentee voting, and electronic voting.

              2.               Section 4.02e. is added to Article 4 to read as follows:

              e.     Notwithstanding anything contained in these Bylaws to the contrary, the
              Members will be entitled to elect three (3) Directors to represent their respective
              Sections. In connection with the Amended Plan of Reorganization of the Official
                                                            
2             The inclusion of a Section in the reorganized Association depends on whether the specific Section adopts the
              Proposed Amendments to the Deed Restrictions.


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Committee of Unsecured Creditors of Garden Oaks Maintenance Organization (the “Plan”)
filed in the U.S. Bankruptcy Court for the Southern District of Texas (the
“Court”) in the case styled as In re Garden Oaks Maintenance Organization, Inc., Case
No. 18-60018-H2-11 and confirmed pursuant to that certain Order entered on
__________ ___, 2019 [Dkt. No. ______] (the “Confirmation Order], the
current Directors shall resign and new Directors will be elected pursuant to the
procedures in the Plan and Confirmation Order (the “Initial Post-Reorganization
Directors”).

        At the expiration of the terms of the Initial Post-Reorganization
Directors, Directors will each thereafter be elected to serve terms for three
(3) years. Each Director will continue to hold office until his/her successor is
elected.

3.       Section 4.02f. is hereby added to read as follows:

f.      Before the Association disseminates absentee ballots or other ballots to
the Members for purposes of voting in a Board member election, the
Association must provide notice to the Members soliciting candidates interested
in running for a position on the Board. The notice must contain instructions for
an eligible candidate to notify the Board of the candidate’s request to be placed
on the ballot and the deadline to submit the candidate’s request. The deadline
may not be earlier than the 14th day after the date the Board provides the notice.
The absentee ballot or other ballot must include the name of each eligible
candidate from whom the Board received a request to be placed on the ballot
prior to the deadline to receive requests to be placed on the ballot.

The notices and ballots required by this provision must be:

        1.      mailed to each Member; or
        2.      provided by:
                (a) posting the notice in a conspicuous manner reasonably
                    designed to provide notice to the Members:
                    (i) on public or privately-owned property within the
                         Subdivision in a conspicuous manner, with the Owner’s
                         consent; or
                    (ii) on any Internet website maintained by the Association or
                         other Internet media; and
                (b) sending by e-mail to each Member who has registered an e-
                    mail address with the Association.

The Board will be responsible for the affairs of the Association and will have all
of the powers necessary for the administration of the Association’s affairs. The
Board may employ for the Association a professional management agent or
agents at a compensation established by the Board to perform such duties and
services as the Board shall authorize. To avoid conflicts and the appearance of
improprieties, the Board will not select a professional management agent that has



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a controlling owner, officer, director, or partner that is an owner in the
Subdivision.

4.       Section 4.08 is replaced in its entirety with the following:

4.08     Quorum. A majority of the Directors then in office will constitute a
quorum for the transaction of business at any Board meeting; provided that there
must be at least one (1) Director from each Section. If a quorum is not present at
the meeting, a majority of the Directors present may adjourn the meeting from time
to time without further notice.

5.        Section 4.10 is replaced in it entirety with the following:

4.10      Vacancies. The Board will call and hold a special meeting of the
Members to fill vacancies on the Board. Solicitation of candidates will be in
accordance with Section 4.02f. of these Bylaws. The Director who is elected at the
special meeting of the Members will serve for the remainder of the unexpired term.
If no Member in the Section for which the Director positions open chooses to stand
for election, the special meeting will be canceled, and the Board shall appoint a
Director who is a Member in the Section for which the Director position is open and
such appointed Director will serve for the remainder of the unexpired term of the
position. If the Board, after making a reasonable attempt, cannot find a Member in
the Section for which the Director position is open, the Board may appoint a
Director who is a Member lot in any Section of the Subdivision and such appointed
Director will serve for the remainder of the unexpired term of the position.

6.        Section 9.02 is replaced in its entirety with the following:

Section 9.02 Prohibited Actions. Pursuant to the limitations of the Association’s
authority as set forth in the Restrictions, the Association may not (a) establish, assess,
or collect a mandatory assessment of any kind, except the mandatory assessment
expressly provided in the Restrictions, as amended or (b) impose a lien against land
in the Subdivision for failure to pay any assessments (collectively, “Prohibited
Actions”).

8.        Section 9.03 titled “Transfer Assessments” is deleted in its entirety.

9.        Section 15.01 is replaced with the following:

15.01     These Bylaws may be altered, amended, or repealed and new bylaws
adopted by the Board at any Board meeting if at least thirty (30) days written notice
is given to the Members in advance of the Board meeting. The notice must state
verbatim the content of the proposed alterations, amendment, repealing language, or
new bylaw provisions to be presented to the Board for consideration at the Board
meeting.




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                        EXHIBIT B to Plan
            Proposed Amendment to the Deed Restrictions
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                                          [PROPOSED]

 AMENDMENT TO RESTRICTIONS APPLYING TO GARDEN OAKS, SECTION ___

        This Amendment (this “Amendment”) to the Dedication and/or Restrictions applicable to
Garden Oaks, Section ____ recorded in Volume _____, Page ___ of the Official Public Records of
Harris County, Texas (as amended, the “Deed Restrictions”) hereby amends the Deed Restrictions
as set forth herein by the authority of the affirmative vote of Owners in Garden Oaks, Section ___
and pursuant to Texas Property Code § 209.0041. This Amendment becomes effective upon
recording in the Official Real Property Records of Harris County, Texas.

                                               RECITALS:

        Garden Oaks, Section ___ is a subdivision in Harris County, Texas, as more fully described
in the Deed Restrictions (the “Subdivision”).

       Garden Oaks, Section ___ is encumbered by the Deed Restrictions.

       Capitalized terms used but not defined herein have the meanings assigned to such terms in
the Deed Restrictions.

                                              AMENDMENTS:

       The Deed Restrictions are amended as follows:

    1. All references to “Garden Oaks Co.” or “Company” are amended to be references to
Garden Oaks Homeowners Association, its successors and assigns through a merger, reorganization,
or otherwise (the “Association”)

   2. The Section entitled “Maintenance Fund” is replaced in its entirety as follows:

       Maintenance Fund.

               (a) Creation of Assessments.

               The owners (“Owners”) of any lot in this Subdivision (“Lot”), by virtue of
       ownership of a Lot, covenant and agree to pay to the Association an annual
       assessment (“Assessment”) and any applicable late fees, interest and costs as more
       particularly set forth in these restrictions (as amended, these “Deed Restrictions”).
       Each such Assessment, together with attorney’s fees, late fees, interest and costs,
       shall be the personal obligation of the person or entity who was the Owner of the
       Lot at the time when the Assessment became due. No diminution or abatement of
       Assessments or set-off shall be claimed or allowed by reason of any alleged failure of
       the Association to take some action or perform some function required to be taken
       or performed by the Association under these Deed Restrictions. The obligation to
       pay Assessments is a separate covenant on the part of each Owner of a Lot and is
       independent of any obligation of the Association.




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       (b) Assessments.

        i.       Purpose. Assessments levied by the Association shall be used for any
legal purpose for the benefit of the Subdivision as determined by the Board of
Directors of the Association (the “Board”) and, in particular, may, by way of
example and not limitation or obligation, include operational expenses of the
Association, enforcement of these Deed Restrictions, payment of insurance
premiums, costs of collection and litigation, administrative expenses, and any other
services ancillary to the foregoing. The Board may, in its sound discretion, give one
or more of the purposes set forth herein preference over other purposes, and it is
agreed that all expenses incurred and expenditures and decisions made by the Board
in good faith shall be binding and conclusive on the Association.

       ii.     Creation. Payment of the Assessment shall be the obligation of each
Owner, subject to the provisions below, and shall be binding and enforceable as
provided in these Deed Restrictions.

        iii.  Initial Rate. The initial Assessment established by the Association for
the period from July 1, 2019 through December 31, 2019 (the “Initial Assessment
Period”) is FORTY DOLLARS AND NO/100 ($40.00) per Lot.

        iv.     Commencement and Subsequent Rate. The Assessment for a Lot for
the Initial Assessment Period ($40.00) is due and payable on July 1, 2019, and shall
be delinquent if not paid in full on or before July 31, 2019. Beginning with the
calendar year 2020, the Assessment shall not exceed EIGHTY DOLLARS AND
NO/100 ($80.00) per Lot per calendar year as determined annually by the Board and
is due in advance on January 1 of each year, and shall be delinquent if not paid in full
on or before January 31 of such year.

        v.     Replatted Lots. An Owner who formally re-plats two (2) or more
Lots into one (1) Lot with the approval of the City of Houston Planning and
Development Department shall owe one (1) Assessment. Similarly, an Owner who
subdivides a Lot shall pay one (1) Assessment per Lot created by the subdivision of
the Lot.

        vi.     Levying of the Assessment. The Board shall determine the
sufficiency or insufficiency of the then-current Assessment for the Association to
reasonably meet its expenses (and within the limits as set forth in Section (b)(viii)
below) and may, increase the Assessment in an amount up to three percent (3%)
over the maximum amount of the Assessment that could have been assessed in the
prior calendar year (the “Prior Year Maximum Assessment”). The Assessment may
only be increased by more than three percent (3%) over the Prior Year Maximum
Assessment, but no more than ten percent (10%) over the Prior Year Maximum
Assessment if such increase is approved by a majority of the Members of the
Association (the “Members”) present, in person or by proxy, electronic ballot, or
absentee ballot, at a meeting of the Members called for said purpose at which a
quorum is present, in person or by proxy, electronic ballot, or absentee ballot. The
Assessment may only be increased in an amount more than ten percent (10%) over


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   the Prior Year Maximum Assessment if such increase is approved by Owners of a
   majority of the Lots in the Subdivision subject to such Assessments. The
   Assessment shall not be increased more than once in a calendar year nor shall any
   increase be construed to take effect retroactively.

           vii.    Cap on Association Reserve Funds. The Association is limited on the
   amount of funds it may hold in reserve or otherwise (“Reserve Funds”) to no more
   than an amount not to exceed the Association’s estimated budget for the coming
   calendar year. In the event the Reserve Funds exceed such amount, the Association
   shall provide Owners with a prorated credit based upon the number of Lots in the
   Subdivision subject to Assessments for such excess. For example, if the Reserve
   Funds total $100,000.00 and the Association’s estimated budget for the next calendar
   year is $80,000.00, the Association shall credit the Owners based upon the number
   of Lots in the Subdivision subject to Assessments, a prorated portion of the excess
   ($20,000.00) on the next levy of the Assessments. The cap on the Reserve Funds
   and credit, if any, shall not affect the levy of Assessments or any increase in the
   maximum amount of the Assessment.

           (c) Enforcement.

            The Association may bring an action in law against the Owner personally
   obligated to pay the Assessment, late fees as reasonably determined by the Board,
   interest as reasonably determined by the Board and not to exceed the maximum non-
   usurious rates that may be charged under Texas or Federal law, and costs, including
   attorneys’ fees, incurred by the Association in collecting same and obtain a personal
   judgment against the Owner. No lien is created herein to secure the payment of the
   Assessment, late fees, interest, costs, and attorneys’ fees.

           (d) Revocation of Other Mandatory Fees.

          Except as set forth in this Amendment to the extent that any provision in the
   Deed Restrictions or the Association’s Bylaws seeks to impose any other mandatory
   assessment or fee, such a provision is null and void.

3. The section titled “Racial Restrictions” is permanently deleted from the Deed Restrictions.

4. The following section is added to the Deed Restrictions:

   Amending and Modifying Deed Restrictions:

   Notwithstanding any other provision in the Deed Restrictions to the contrary, the
   following shall apply:

           (a) Approval by the Owners of a majority (fifty percent (50%) plus one (1))
   of the Lots in this Subdivision shall be required to amend or modify these Deed
   Restrictions. Upon approval of the Owners, as set out herein, the amendment or
   modification shall be recorded in the Official Public Records of Harris County,




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       Texas, whereupon to the extent of any conflict with the current Deed Restrictions
       and the new amendment, the new amendment shall control.

               (b) The approval of multiple Owners of a Lot may be reflected by the
       signature of any one (1) Owner of such Lot. Notwithstanding anything contained
       herein to the contrary, the Association shall be entitled to use any combination of
       the following methods to obtain approval of the Owners for an amendment to these
       Deed Restrictions:

               i.     by written ballot or electronic ballot, as same may be established by
       the Association, that states the substance of the amendment and specifies the date by
       which a written ballot or electronic ballot must be received to be counted;

               ii.    at a meeting of the members of the Association, if written notice of
       the meeting stating the purpose of the meeting is delivered to the Owners of the
       Lots; such notice may be hand-delivered to the Owners, sent via regular mail to the
       Owner’s last known mailing address, as reflected in the Association’s records, or via
       email to the Owner’s email address as reflected in the Association’s records;

              iii.    by door-to-door circulation of a petition by the Association or a
       person authorized by the Association; and

               iv.   any combination of the foregoing and any other method not
       prohibited under the Deed Restrictions and otherwise in accordance with applicable
       law.

   5. Any provisions in the Deed Restrictions, prior to giving effect to this Amendment, that
contradict any provision of this Amendment are superseded and replaced by the terms of this
Amendment.




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                                     CERTIFICATION
        I, the undersigned, do hereby certify that I am the __________________ of the Garden
Oaks Homeowners Association (F/K/A Garden Oaks Maintenance Organization, Inc.) and that
this instrument constitutes the Amendment to the Declaration and/or Restrictions applicable to
Garden Oaks, Section ___ and was affirmatively approved by the Owners in Garden Oaks, Section
____ pursuant to Section 209.0041 of the Texas Property Code.

      IN WITNESS WHEREOF, I have hereunto subscribed my name on this the _____ day of
________________________, 2019.


By:

Name:

Title:


         SUBSCRIBED AND SWORN TO BEFORE ME on this ____ day of __________, 2019,
to certify which witness my hand and official seal.


                                                  Notary Public, State of Texas




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